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                                UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                   SAN FRANCISCO DIVISION

JORGE BERMUDEZ, VIRGINIA                       Case No. 3:18-cv-04312-VC
VALDEZ, and ANGELICA PEDROZO, as
individuals, and on behalf of all others       [THIRD AMENDED] [PROPOSED]
similarly situated,
                                               ORDER GRANTING PRELIMINARY
                  Plaintiffs,                  APPROVAL OF CLASS ACTION
v.                                             SETTLEMENT

SERVICE EMPLOYEES
INTERNATIONAL UNION, LOCAL 521,
and COUNTY OF SANTA CLARA,

                  Defendants.




[PROPOSED] ORDER GRANTING                                       CASE NO. 3:18-cv-04312-VC
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       Plaintiff Virginia Valdez (“Plaintiff”) has filed a Motion for Preliminary Approval of the

class action settlement reached with Defendants Service Employees International Union, Local

521 (“Local 521”) and County of Santa Clara (“the County”), a hearing on which was held on

January 9, 2020. The Court has carefully considered the Settlement Agreement together with all

exhibits thereto, all the filings related to the Settlement, the arguments of counsel, and the record

in this case. The Court hereby gives its preliminary approval of the Settlement; finds that the

Settlement and Settlement Agreement are sufficiently fair, reasonable and adequate to allow

dissemination of notice of the Settlement to the Settlement Class and to hold a Fairness Hearing;

orders the Class Notice be sent to the Settlement Class in accordance with the Settlement

Agreement and this Order; and schedules a Fairness Hearing to determine whether the proposed

Settlement is fair, adequate and reasonable.

       IT IS HEREBY ORDERED THAT:

       1.       The Settlement Agreement is hereby incorporated by reference in this Order, and

all terms or phrases used in this Order shall have the same meaning as in the Settlement

Agreement.

       2.       The Court preliminarily approves the Settlement and Settlement Agreement,

together with all of its Exhibits, finding that the terms of the Agreement are fair, reasonable, and

adequate, and within the range of possible approval and sufficient to warrant providing notice to
the Settlement Class.




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       3.       Pursuant to Fed. R. Civ. P. 23(a) and (b)(3), the Court certifies, for settlement

purposes only, the following Settlement Class: “All public-sector members of Local 521 from

September 10, 2015 through January 9, 2020 who: 1) submitted to Defendants a written request

to terminate their membership with Local 521, and thereafter continued to have union dues

deducted from their paychecks based on a temporal limitation on resigning from union

membership, or 2) who submitted an Employee Authorization for Payroll Deduction of Union

Dues or Service Fees form with the “Service Fee” box checked, and thereafter continued to have

union dues deducted from their paychecks based on Local 521’s policy of not treating such

forms as indicating a request to resign from union membership.”

       4.       The Court finds, for settlement purposes only, that the Action may be maintained

as a class action on behalf of the Settlement Class because:

                a.     Numerosity: Class Counsel estimates that approximately 183 individuals

                       have potential claims and are members of the Settlement Class. This

                       satisfies the Rule 23(a)(1) numerosity requirement.

                b.     Commonality: The threshold for commonality under Rule 23(a)(2) is not

                       high and a single common issue will suffice. Plaintiff alleges, among other

                       things, that a time restriction that limits when members of Local 521 can

                       terminate their union membership is illegal. This issue is common to the
                       Settlement Class.

                c.     Typicality: Plaintiff’s claims are typical of the claims of the Settlement

                       Class Members and satisfy Rule 23(a)(3).




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                d.     Adequacy: There are no conflicts of interest between Plaintiff and

                       Settlement Class members and Plaintiff has retained competent counsel to

                       represent the Settlement Class. Class Counsel regularly engage in

                       complex litigation similar to the present case and have dedicated

                       substantial resources to the prosecution of this matter. The adequacy

                       requirement is satisfied.

                e.     Predominance and Superiority: There is predominance and superiority. A

                       class action is superior to other available methods for the fair and efficient

                       adjudication of this controversy. The common legal and factual issue

                       listed in the preliminary approval papers predominate over all other issues.

                       Resolution of the common question constitutes a significant part of

                       Plaintiff’s and Settlement Class Members’ claims.

       5.       The Court appoints as class representative, for settlement purposes only, Plaintiff

Virginia Valdez. The Court finds, for settlement purposes only, that Plaintiff will adequately

represent the Settlement Class.

       6.       Pursuant to Federal Rule of Civil Procedure 23(g), and for settlement purposes

only, the Court designates as Class Counsel the law firm of Banys, P.C. The Court preliminarily

finds that, based on the work Class Counsel have done identifying, investigating, and
prosecuting the claims in this action; Class Counsel’s experience in handling class actions and

claims of this type asserted in this Action; Class counsel’s knowledge of the applicable law; and

the resources Class Counsel have and will commit to representing the class, that Class Counsel

have represented and will represent the interests of the Settlement Class fairly and adequately.

       7.       The Court appoints Local 521 as the Settlement Administrator, which shall

administer the Settlement in accordance with the terms and conditions of this Order and the

Settlement Agreement.



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       8.       The Court finds that the proposed Class Notice and the proposed plan of

distribution of the Class Notice meets the requirements of Federal Rule of Civil Procedure

23(c)(2)(B), and hereby directs Local 521 to proceed with the notice distribution in accordance

with the terms of the Agreement.

       9.       Any Settlement Class Members who wishes to opt out from the Agreement must

do so within 60 days of the Mailed Notice Date and in accordance with the terms of the

Agreement.

       10.      Any Settlement Class Members who wishes to object to the Agreement must do

so within 60 days of the Mailed Notice Date and in accordance with the terms of the Agreement.

       11.      The Court finds that the Notice plan, including the form, content, and method of

dissemination of the Class Notice to Settlement Class Members as described in the Settlement

Agreement, (i) is the best practicable notice; (ii) is reasonably calculated, under the

circumstances, to apprise Settlement Class Members of the pendency of the lawsuit and the

Settlement and of their right to object to or exclude themselves from the proposed Settlement;

(iii) is reasonable and constitutes due, adequate, and sufficient notice to all persons entitled to

receive notice; and (iv) meets all applicable requirements of Federal Rule of Civil Procedure 23

and due process.

       12.      The Court approves the procedures set forth in the Settlement Agreement and the
Notice of Settlement of Class Action for exclusions from and objections to the Settlement.

       13.      The Court directs that a hearing be scheduled on May 21, 2020 at 10:00 a.m. (the

“Fairness Hearing”) to assist the Court in determining whether the Settlement is fair, reasonable

and adequate; whether Final Judgment should be entered dismissing with prejudice Defendants

in the above-captioned action; whether Class Counsel’s application for fees and expenses should

be approved; and whether Class Counsel’s request for an enhancement payment to Plaintiff

should be approved. Plaintiff shall file a motion for final approval of the Settlement no later than

14 days before the Fairness Hearing.

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       14.     Plaintiff may file motions for attorneys’ fees, costs, and a class representative

enhancement award. Such motions shall be filed no later than 35 days before the

Exclusion/Objection Deadline, and the reply briefs on such motions shall be filed no later than

14 days before the Fairness Hearing.

       15.     Neither the Settlement, nor any exhibit, document or instrument delivered

thereunder shall be construed as or deemed to be evidence of an admission or concession by

Defendants of an interpretation of, any liability or wrongdoing by Defendants, or of the truth of

any allegations asserted by Plaintiff, Settlement Class Members or any other person.

       16.     If the Settlement is not finally approved, or the Effective Date does not occur, or

the Settlement is terminated under its terms, then (a) all parties will proceed as if the Settlement

(except those provisions that, by their terms, expressly survive disapproval or termination of the

Settlement) had not been executed and the related orders and judgment had not been entered,

preserving in that event all of their respective claims and defenses in the action; and (b) all

releases given will be null and void. In such an event, this Court’s orders regarding the

Settlement, including this Preliminary Approval Order, shall not be used or referred to in

litigation for any purpose. Nothing in the foregoing paragraph is intended to alter the terms of

the Settlement Agreement with respect to the effect of the Settlement Agreement if it is not

approved.

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        17.      The Court directs that the following deadlines are established by this Preliminary

Approval Order:

        a.       Mailed Notice Date: within 30 days of this Preliminary Approval Order.

        b.       Opt-Out Deadline: 60 days after the Mailed Notice Date.

        c.       Objection Deadline: 60 days after the Mailed Notice Date.

        d.       Fairness Hearing: May 21, 2020 at 10:00 a.m.

        IT IS SO ORDERED.


       January 15, 2020
Date: _______________________

                                               ________________________________________
                                               Hon. Vince Chhabria
                                               United States District Judge


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[PROPOSED] ORDER GRANTING                      6                         CASE NO. 3:18-cv-04312-VC
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